                   Case 24-11106-CTG              Doc 8       Filed 05/30/24        Page 1 of 50




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )       Chapter 11
                                                                      )
    TAKEOFF TECHNOLOGIES, INC., et al.,1                              )       Case No. 24-11106 (___)
                                                                      )
                              Debtors.                                )       (Joint Administration Requested)
                                                                      )

                 DEBTORS’ MOTION FOR ENTRY OF INTERIM AND
               FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO (A)
           CONTINUE TO OPERATE THEIR CASH MANAGEMENT SYSTEM, (B)
          HONOR CERTAIN PREPETITION OBLIGATIONS RELATED THERETO,
      (C) MAINTAIN EXISTING BUSINESS FORMS, (D) CONTINUE INTERCOMPANY
     TRANSACTIONS; (II) CONFIRMING ADMINISTRATIVE EXPENSE PRIORITY FOR
    POSTPETITION INTERCOMPANY CLAIMS; AND (III) GRANTING RELATED RELIEF


             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (“Motion”):2

                                                 Relief Requested

             1.    By this Motion, the Debtors respectfully request the entry of interim and final

orders, substantially in the forms attached hereto as Exhibit A and Exhibit B (respectively, the

“Interim Order” and the “Final Order”): (a) authorizing the Debtors to (i) continue operating the

Cash Management System (as defined herein), (ii) honor and pay the Bank Fees (as defined herein)

in the normal course, (iii) maintain existing business forms, (iv) continue to perform under and


1
      The Debtors in these chapter 11 cases, along with the last four digits of the Debtors federal tax identification
      numbers, as applicable, are: Takeoff Technologies, Inc. (0552); Takeoff Technologies Canada, Inc.; Takeoff
      Technologies Australia Pty Ltd. (ACN 639 288 958); Takeoff Technologies FZE; Takeoff International Subco
      India Private Limited; and Takeoff International Subco, LLC. The location of the Debtors’ principal place of
      business and the Debtors’ service address in these chapter 11 cases is 203 Crescent Street, Suite 203, Waltham,
      Massachusetts 02453.

2
      A detailed description of the Debtors and their business, including the facts and circumstances giving rise to the
      Debtors’ chapter 11 cases, is set forth in the Declaration of Brett M. Anderson in Support of Chapter 11 Petitions
      and First Day Pleadings filed contemporaneously herewith (the “First Day Declaration”). Capitalized terms used
      but not otherwise defined herein have the meanings ascribed to such terms in the First Day Declaration.


                                                          -1-
                Case 24-11106-CTG         Doc 8     Filed 05/30/24     Page 2 of 50




honor Intercompany Transactions (as defined herein) in the ordinary course of business, in their

business judgment and at their sole discretion; and (b) confirming administrative expense priority

for post-petition intercompany claims; and (c) granting related relief. In addition, the Debtors

request that the Court schedule a final hearing within approximately twenty-eight days of the

commencement of these chapter 11 cases to consider approval of this Motion on a final basis.

                                     Jurisdiction and Venue

       2.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

and the Debtors confirm their consent, pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware

(the “Local Rules”), to the entry of a final order by the Court in connection with this Motion to the

extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

       3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.       The statutory bases for the relief requested herein are sections 105, 345, and 363 of

title 11 of the United States Code, 101–1532 (the “Bankruptcy Code”), Rules 6003 and 6004 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rules 2015-2 and

9013-1(m).

                                           Background

       5.       Founded in 2016 by a group of former grocery executives, the Debtors operate one

of the leading eGrocery, micro-fulfillment solution companies in the world. The Debtors’ business

                                                  -2-
               Case 24-11106-CTG         Doc 8     Filed 05/30/24    Page 3 of 50




model centers around the sale, subsequent maintenance, and support of the equipment and software

needed to operate micro-fulfillment centers—i.e., small, automated, robotic warehouses called

micro-fulfillment centers, either placed in grocery stores or near the end-shoppers.

       6.      Headquartered in Waltham, Massachusetts, with international subsidiaries

organized in Canada, Australia, India, and the United Arab Emirates, the Debtors’ business is

global. At their peak, the Debtors had over 300 employees working on dozens of sites across eight

countries and four continents. However, despite generating strong revenue, the Debtors failed to

make material progress towards achieving profitability and suffered significant operating losses in

2022 and 2023 due to the cost pressures associated with an early-stage software company.

       7.      On May 30, 2024 (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.      The Debtors have contemporaneously filed a motion for procedural

consolidation and joint administration of these chapter 11 cases pursuant to Bankruptcy Rule

1015(b) and Local Rule 1015-1. No request for the appointment of a trustee or examiner has been

made in these chapter 11 cases, and no official committees have been appointed or designated.

                The Debtors’ Cash Management System and Bank Accounts

       8.      As described in the First Day Declaration, in the ordinary course of business, the

Debtors utilize an integrated, centralized cash management system to collect, concentrate, and

disburse funds generated by their operations (the “Cash Management System”).            The Cash

Management System enables the Debtors to efficiently collect and disburse cash generated by their

business, pay their financial obligations, centrally control and monitor corporate funds and

available cash, reduce administrative expenses, and efficiently obtain accurate account balances

and other financial data. It is critical that the Cash Management System remain intact during these

                                                 -3-
                   Case 24-11106-CTG             Doc 8      Filed 05/30/24        Page 4 of 50




chapter 11 cases to ensure seamless continuation of transactions and uninterrupted collection of

revenues.

          9.       As of the Petition Date, the Debtors maintain eighteen bank accounts

(the “Bank Accounts”) at the following banks: Bank of America, Chase Bank, J.P. Morgan, Silicon

Valley Bank (“SVB”),3 and US Century Bank (collectively, the “Banks”).4 Payments to creditors

are made from the Bank Accounts, in a variety of ways, including checks, drafts, wire transfers,

credit cards, and automated clearinghouse (“ACH”) transfers.

                                 Description of Cash Management System

          10.      Below is a summary of the Bank Accounts with a short description for the purpose

of each type of account:5

                                               BANK ACCOUNTS6

    Category                                  Description
    Main Concentration Account                This account serves as the Debtors’ main bank account for
                                              operations. Funds from this account are used to fund payment
    Chase ****0972                            obligations in the ZBA Payables Account, ZBA Payroll
                                              Account; as well as fund operational expenses payable out of the
                                              Foreign Subsidiary Operating Accounts, and investments in the
                                              Investment Account.

                                              This account is funded primarily by customer payments and
                                              accounts receivables that are swept into it from the ZBA
                                              Customer Collections Account.

3
      Following SVB’s collapse in March 2023, the FDIC was appointed as receiver. On March 27, 2023, First Citizens
      Bank & Trust Company assumed all customer deposits of SVB from the FDIC and began operating all SVB
      branches. First Citizens is an authorized U.S. Trustee depository:
      https://www.justice.gov/d9/pages/attachments/2023/05/02/r03_authorized_depository.pdf. SVB now operates as
      a division of First Citizens. See https://www.firstcitizens.com/m-a/svb.

4
      A list and description of each of the Debtors’ Bank Accounts is attached hereto as Exhibit C.

5
      A general diagram of the movement of funds within the Cash Management System is attached hereto as
      Exhibit D.
6
      The Debtors also maintain six (6) dormant accounts at SVB (****6644, ****3645, ****0340), US Century Bank
      (****7854), and Bank of America (****3867, ****7631). The aggregate balance of these accounts total
      approximately $7,091. More information related to these Bank Accounts is set forth in Exhibit C.


                                                         -4-
             Case 24-11106-CTG         Doc 8     Filed 05/30/24       Page 5 of 50




ZBA Customer Collection Account This is a zero balance account that collects customer payments,
                                accounts receivable and deposits, which is swept into the Main
Chase ****7697                  Concentration Account daily.

ZBA Payables Account                This is a zero balance account that pulls funds from the Main
                                    Concentration Account to fund payments to vendors and other
Chase ****2533                      operating expenses.

ZBA Payroll Account                 This is a zero balance account that pulls funds from the Main
                                    Concentration Account to fund payroll-related payments for
Chase****7606                       employee wages and benefits for employees located in the
                                    United States.
Payables Account                    This account funds payments to certain vendors of the Debtors,
                                    as well as operational expenses of certain foreign non debtor
Bank of America ****9770            subsidiaries of the Debtors.

Customer Collection Account         This account collects certain customer payments, accounts
                                    receivable and deposits. Funds from this account is used to fund
Bank of America ****1965            payments from the Payables Account.

Foreign Subsidiary Operating
Accounts

Commonwealth Bank ****0855          Commonwealth Bank Account ****0855 is the main operating
                                    account for Takeoff Technologies Australia Pty Ltd. (ACN 639
                                    288 958). It is funded by either the Main Concentration Account
                                    or Payables Account. This account is used to fund payroll-
                                    related payments for employee wages and benefits for
                                    employees located in Australia. It is also used to fund local tax
                                    payments in Australia as well as pay certain foreign vendors and
                                    professional service providers.

Royal Bank of Canada ****4246       Royal Bank of Canada Account ****4246 is the main operating
                                    account for Takeoff Technologies Canada, Inc. It is funded by
                                    either the Main Concentration Account or Payables Account.
                                    This account is primarily used to fund payroll-related payments
                                    for employee wages and benefits for employees located in
                                    Canada.

ICICI Bank ****5319                 ICICI Bank ****5319 is the main operating account for Takeoff
                                    International Subco India Private Limited. It is funded by either
                                    the Main Concentration Account or Payables Account. This
                                    account is used to fund payroll-related payments for employee
                                    wages and benefits for employees located in India. It is also used
                                    to fund local tax payments in India as well as pay certain foreign
                                    vendors and professional service providers.

Savings Account

Commonwealth Bank ****0871



                                               -5-
              Case 24-11106-CTG         Doc 8     Filed 05/30/24       Page 6 of 50



                                     Takeoff Technologies Australia Pty Ltd. (ACN 639 288 958)
                                     maintains one interest-bearing savings account at
                                     Commonwealth Bank with a nominal balance.

 Investment Account                  This account is used to hold cash in excess of operating needs in
                                     accordance with the Company’s investment policy. It is funded
 JPMorgan Chase Bank ****2979        by either the Main Concentration Account or Payables Account.

 International Wire and Foreign This account was established to receive international wires and
 Exchange Account               execute foreign currency exchanges. It has minimal activity.

 Bank of America ****0010


       11.     The Debtors request authority to maintain and continue to use the Bank Accounts

during these Chapter 11 Cases in the ordinary course of their business, including depositing funds

in, and withdrawing funds from, the Bank Accounts by usual means, including check, wire

transfer, ACH transfer, draft, electronic fund transfer, centralized lockbox, or other items

presented, issued, or drawn on the Bank Accounts.

                                           Bank Fees

       12.     The Debtors incur certain fees and charges in connection with the ordinary course

operation of the Cash Management System, including, without limitation, those fees specified in

the prepetition agreements entered into between the Debtors and the Banks (collectively,

the “Bank Fees”). The Bank Fees include account maintenance charges, charges relating to ACH

and wire transfers, lockbox and depository service charges, and other customary miscellaneous

charges. On average, the Debtors incur approximately $2,500 in Bank Fees per month. In the

ordinary course of business and typically on a monthly basis, the Banks charge the Debtors and

deduct from the appropriate bank accounts certain service charges, and other fees, costs, and

expenses. The Debtors believe there are approximately $2,500 in Bank Fees that have accrued

prepetition and are outstanding as of the Petition Date. Accordingly, the Debtors seek approval to




                                                -6-
               Case 24-11106-CTG        Doc 8     Filed 05/30/24    Page 7 of 50




pay prepetition Bank Fees up to $2,500 and to pay any post-petition Bank Fees and, for the Banks

to deduct, any such Bank Fees in the ordinary course when due.

                             Intercompany Transactions and Claims

       13.     In the ordinary course of business, the Debtors engage in routine business

transactions with each other (the “Intercompany Transactions”) resulting in intercompany

receivables and payables (the “Intercompany Claims”). Accordingly, at any given time, there may

be Intercompany Claims owed by one Debtor to another Debtor.              For example, Takeoff

Technologies, Inc. regularly transfers cash from the Main Concentration Account and Payables

Account to the Foreign Subsidiary Operating Accounts, as applicable, to cover among other things,

business operations and costs such as employee payroll and benefits, payments to vendors, taxes,

credit cards, insurance, and expenses incurred by the foreign Debtor. The Intercompany Claims

are reflected as journal entry receivables and payables, as applicable, in the respective Debtors’

accounting systems.

       14.     Intercompany Claims are not settled by actual transfers of cash by the Debtors. The

Debtors track all Intercompany Transactions electronically in their accounting system, which

transactions are concurrently recorded on the applicable Debtors’ balance sheet as a payable or

receivable, as applicable.

       15.     The Debtors maintain all records of all transactions processed through their Cash

Management System and are able to ascertain, trace, and account for all Intercompany

Transactions. The Debtors will continue to track all Intercompany Transactions on a postpetition

basis. Disallowing the continued use of Intercompany Transactions would unnecessarily disrupt

the Cash Management System and consequently the Debtors’ operations to the detriment of the




                                                -7-
               Case 24-11106-CTG           Doc 8     Filed 05/30/24      Page 8 of 50




Debtors and their creditors and other stakeholders. Accordingly, the Debtors seek authority to

continue the Intercompany Transactions in the ordinary course of business.

                                           Business Forms

        16.     The Debtors utilize numerous preprinted business forms in the ordinary course of

their business (including, without limitation, letterhead, purchase orders, invoices, and checks),

including in connection with their Cash Management System. The Debtors would be required by

the United States Trustee (the “U.S. Trustee”) under the U.S. Trustee’s Operating Guidelines for

Chapter 11 Cases (the “U.S. Trustee Guidelines”) to incur the expense and delay of ordering

entirely new business forms referencing the Debtors’ status as debtors-in-possession absent relief

from the Court. To the extent necessary, the Debtors seek authority to use pre-existing business

forms without such a reference in order to minimize expense to the estate. The Debtors submit

that parties in interest will not be prejudiced if such relief is granted because parties doing business

with the Debtors will likely be aware of their status as debtors-in-possession and, therefore,

changing business forms is unnecessary and would be unduly burdensome. In accordance with

Local Rule 2015-2(a), to the extent the Debtors exhaust their existing supply of checks, the Debtors

will reissue checks with the designation “Debtor-in-Possession” and the corresponding case

number.

                     Compliance With Section 345 of the Bankruptcy Code

        17.     Pursuant to the U.S. Trustee Guidelines, the U.S. Trustee generally requires chapter

11 debtors to, among other things, deposit all estate funds into an account with an authorized

depository (each an “Authorized Depository”) that agrees to comply with the requirements of the

U.S. Trustee’s office.




                                                   -8-
                Case 24-11106-CTG             Doc 8      Filed 05/30/24       Page 9 of 50




        18.     Further, section 345(a) of the Bankruptcy Code governs a debtor’s cash deposits

during a chapter 11 case and authorizes deposits of money as “will yield the maximum reasonable

net return on such money, taking into account the safety of such deposit or investment.” 11 U.S.C.

§ 345(b). Section 345(b) requires a debtor’s bank to post a bond, unless a debtor’s funds are

“insured or guaranteed by the United States or by a department, agency, or instrumentality of the

United States or backed by the full faith and credit of the United States.” 11 U.S.C. § 345(b).

        19.     The majority of the Debtors’ financial transactions—including, but not limited to,

payroll for employees located in the United States, local, state and federal tax payments, and

vendor payments—are transacted through Bank Accounts maintained at Authorized Depositories

under the U.S. Trustee Guidelines, including the Debtors’ Main Concentration Account. The

Foreign Subsidiary Operating Accounts, however, are not Authorized Depositories. The Debtors

submit, however, that the Foreign Operating Accounts are in substantial compliance with the

requirements of section 345(b) of the Bankruptcy Code because these Bank Accounts are

maintained at Banks that are well capitalized, financially stable, and insured by an applicable

foreign agency.7

        20.     The Cash Management System is complex and critical to the ongoing stability of

the Debtors’ businesses. Relocating the Cash Management Systems, including the Foreign

Subsidiary Operating Accounts, to new accounts and/or an Authorized Depository would impose

an unnecessary and excessive administrative burden on the Debtors at a critical time when


7
    More specifically, the Debtors’ Bank Accounts at Commonwealth Bank (****0855) and (****0871) are insured
    up to $250,000 for each account holder under the Foreign Claims Scheme, the Australian deposit protection
    scheme, and has also received competitive investment-grade ratings (AA by S&P, Aa3 by Moody’s, and A+ by
    Fitch). The Debtors’ Bank Account at Royal Bank of Canada (****4246) is similarly insured up to CAD
    $100,000 by the Canada Deposit Insurance Corporation, and has also received competitive investment-grade
    ratings (AA by S&P, AA by Moody’s, and AA by Fitch). The Debtors’ Bank Account at ICIC Bank (****5319)
    is also insured up to INR $1,000,000 by the Deposit Insurance and Credit Guarantee Corporation, and has also
    received competitive investment-grade ratings (BBB by S&P, Baa3 by Moody’s, and BB+ by Fitch).


                                                      -9-
                 Case 24-11106-CTG              Doc 8      Filed 05/30/24         Page 10 of 50




management must be solely focused on consummating a value-maximizing strategic transaction

for the benefit of all stakeholders in these chapter 11 cases. Therefore, the Debtors submit that the

de minimis risk associated with those accounts is far outweighed by the harm to the Debtors and

their estates from the significant disruption to the Debtors’ business that would be caused by

closing them. The Debtors, of course, will continue to work in good faith with the U.S. Trustee to

address any concerns regarding the use of these accounts on a postpetition basis.

         21.         To the extent that any of the Bank Accounts cease to comply with, or do not comply

with, the requirements of section 345(b) of the Bankruptcy Code during these Chapter 11 Cases,

the Debtors request that the Court grant the Debtors a forty-five day suspension, without prejudice

to the Debtors’ right to seek an additional suspension after the entry of the Interim Order, to either

(a) bring the applicable Bank Accounts into compliance with section 345(b) of the Bankruptcy

Code or (b) seek appropriate relief from the Court.8

                                                 Basis for Relief

A.       Maintaining the Existing Cash Management System is Essential to Debtors’
         Operational Stability

         22.         The U.S. Trustee Guidelines require a debtor-in-possession to, among other things:

                 i.     establish one debtor-in-possession bank account for all estate monies required
                        for the payment of taxes, including payroll taxes;

                ii.     close all existing bank accounts and open new debtor-in-possession accounts;

               iii.     maintain a separate debtor-in-possession account for cash collateral; and

               iv.      obtain checks that bear the designation “debtor-in-possession” and reference
                        the bankruptcy case number and type of account on such checks.



8
     The Debtors also maintain, four dormant Bank Accounts with de minimis account balances at two depositories
     that not Authorized Depositories—SVB and US Century Bank. As discussed more fully below, since no financial
     transactions are processed through these accounts, the Debtors submit that “cause” exists to allow the Debtors to
     continue maintain these existing Bank Accounts consistent with historical practices.


                                                        -10-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 11 of 50




       23.     These requirements are designed to provide a clear line of demarcation between

prepetition and postpetition claims and payments, and help protect against the inadvertent payment

of prepetition claims by preventing banks from honoring checks drawn before the Petition Date.

Enforcement of this provision of the U.S. Trustee Guidelines during these chapter 11 cases would

severely disrupt the administration of the Debtors’ estates. Accordingly, the Debtors respectfully

request authorization to operate the Bank Accounts in the same manner as was maintained in the

ordinary course of business prior to the Petition Date.

       24.     Continuation of the Cash Management System is permitted pursuant to section

363(c)(1) of the Bankruptcy Code, which authorizes the debtor-in-possession to “use property of

the estate in the ordinary course of business without notice or a hearing.” 11 U.S.C. § 363(c)(1).

Additionally, courts in this and other districts have recognized that an integrated cash management

system “allows efficient utilization of cash resources and recognizes the impracticalities of

maintaining separate cash accounts for the many different purposes that require cash.” In re

Columbia Gas Sys., 136 B.R. 930, 934 (Bankr. D. Del. 1992), aff’d in part and rev’d in part, 997

F.2d 1039 (3d Cir. 1993). The Third Circuit has agreed, emphasizing that requiring a debtor to

maintain separate accounts “would be a huge administrative burden and economically inefficient.”

Columbia Gas, 997 F.2d at 1061; see also Southmark Corp. v. Grosz (In re Southmark Corp.), 49

F.3d 1111, 1114 (5th Cir. 1995) (finding cash management system allows a debtor “to administer

more efficiently and effectively its financial operations and assets”).

       25.     Here, continued use of the Cash Management System will facilitate these chapter

11 cases by, among other things, avoiding administrative inefficiencies and expenses associated

with disrupting this system and minimizing delays in the payment of postpetition obligations. The

Debtors respectfully submit that parties in interest will not be harmed by the maintenance of the



                                                 -11-
                Case 24-11106-CTG             Doc 8      Filed 05/30/24         Page 12 of 50




existing Cash Management System because the Debtors employ appropriate mechanisms and

internal control procedures to prevent unauthorized payments on account of obligations incurred

before the Petition Date. As such, maintaining the Cash Management System is in the best interests

of the Debtors’ estates.

        26.      Courts in this and other districts have regularly allowed debtors in chapter 11 cases

to maintain their existing cash management systems and such relief generally is non-controversial.

See, e.g., In re SiO2 Medical Prods., Inc., 23-10366 (JTD) (Bankr. D. Del. Mar. 30, 2023)

(authorizing the debtors to continue using the cash management system maintained by the debtors

prepetition); In re Carestream Health, Inc., No. 22-10778 (JKS) (Bankr. D. Del. Sept. 22, 2022)

(same); In re Riverbed Tech., Inc., No. 21-11503 (CTG) (Bankr. D. Del. Nov. 18, 2021) (same);

In re Alex and Ani, LLC, No. 21-10918 (CTG) (Bankr. D. Del. July 14, 2021) (same); In re

HighPoint Res. Corp., No. 21-10565 (CSS) (Bankr. D. Del. Mar. 26, 2021) (same).9

        27.      Furthermore, as discussed above, in the ordinary course of business, the Debtors

conduct transactions through electronic wire transfers and other similar methods. If the Debtors’

ability to conduct transactions by debit, wire, credit card, ACH transfer, or other similar methods

is impaired, their estates will incur additional and unnecessary costs. Accordingly, the Debtors

submit that it is in the best interests of all stakeholders for the Court to grant further relief from the

U.S. Trustee Guidelines to the extent they require the Debtors to make all disbursements by check.




9
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
    Copies of these orders are available upon request to the Debtors’ proposed counsel.


                                                      -12-
              Case 24-11106-CTG           Doc 8     Filed 05/30/24     Page 13 of 50




B.     Authorizing (i) the Banks to Continue to Maintain, Service, and Administer the Bank
       Accounts and (ii) the Debtors to Pay Bank Fees, Each in the Ordinary Course of
       Business, Is Warranted

       28.     The Debtors respectfully request that the Court authorize the Bank to continue to

maintain, service, and administer the Bank Accounts as an account of the Debtors as debtors-in-

possession, without interruption and in the ordinary course of business. In this regard, the Banks

should be authorized to receive, process, honor, and pay any and all checks, ACH transfers, other

instructions, and drafts payable through, drawn, or directed on such Bank Accounts after the

Petition Date by holders, makers, or other parties entitled to issue instructions with respect thereto;

provided, however, that any check, advise, draft, or other notification that the Debtors advised the

Bank to have been drawn, issued, or otherwise presented before the Petition Date may be honored

by the Bank only to the extent authorized by order of the Court.

       29.     The Debtors further request that the Court authorize the Banks to accept and honor

all representations from the Debtors as to which checks, drafts, wires, or ACH transfers should be

honored or dishonored consistent with any order of the Court and governing law, whether such

checks, drafts, wires, or ACH transfers are dated before or subsequent to the Petition Date. The

Debtors also request that, to the extent the Banks honor a prepetition check or other item drawn on

any account either (i) at the direction of the Debtors, (ii) in a good-faith belief that the Court has

authorized such prepetition check or item to be honored, or (iii) as a result of an innocent mistake

made despite the above-described protective measures, the Banks will not be deemed to be liable

to the Debtors or their estates on account of such prepetition check or other item honored

postpetition. The Debtors respectfully submit that such relief is reasonable and appropriate

because the Banks are not in a position to independently verify or audit whether a particular item

may be paid in accordance with a Court order or otherwise.



                                                  -13-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 14 of 50




       30.     The Debtors further request that the Court authorize them to pay the Bank Fees and

authorize the Banks to (i) continue to charge the Bank Fees and (ii) charge-back returned items to

the applicable Bank Account, whether such items are dated before, on, or subsequent to the Petition

Date, in the ordinary course of business. The Debtors’ inability to pay the prepetition Bank Fees

or to continue to pay the Bank Fees in the ordinary course of business postpetition could hinder

their ability to manage the Cash Management System to the detriment of the Debtors’ estates.

       31.     Courts in this district routinely have waived the U.S. Trustee Operating Guidelines

in operating chapter 11 cases with ongoing business operations and restructuring efforts. See, e.g.,,

In re SiO2 Medical Prods., Inc., 23-10366 (JTD) (Bankr. D. Del. Mar. 30, 2023) (authorizing the

debtors’ continued use of existing bank accounts); In re Carestream Health, Inc., No. 22-10778

(JKS) (Bankr. D. Del. Sept. 22, 2022) (same); In re Riverbed Tech., Inc., No. 21-11503 (CTG)

(Bankr. D. Del. Nov. 18, 2021) (same); In re Alex and Ani, LLC, No. 21-10918 (CTG) (Bankr. D.

Del. July 14, 2021) (same); In re HighPoint Res. Corp., No. 21-10565 (CSS) (Bankr. D. Del. Mar.

26, 2021) (same).

C.     The Court Should Authorize Payment of Fees and Prepetition Obligations Related to
       the Debtor Bank Accounts

       32.     Courts have recognized that it is appropriate to authorize the payment of prepetition

obligations where necessary to protect and preserve the estate, including an operating business’s

going-concern value. See, e.g., In re Just for Feet, Inc., 242 B.R. 821, 825-26 (D. Del. 1999); see

also In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr. N.D. Tex. 2002); In re Ionosphere Clubs,

Inc., 98 B.R. 174, 175-76 (Bankr. S.D.N.Y. 1989); Armstrong World Indus., Inc. v. James A.

Phillips, Inc. (In re James A. Phillips, Inc.), 29 B.R. 391, 398 (S.D.N.Y. 1983). In so doing, these

courts acknowledge that several legal theories rooted in sections 105(a) and 363(b) of the

Bankruptcy Code support the payment of prepetition claims.


                                                 -14-
              Case 24-11106-CTG           Doc 8     Filed 05/30/24      Page 15 of 50




        33.     Section 363(b) of the Bankruptcy Code permits a bankruptcy court, after notice and

a hearing, to authorize a debtor to “use, sell, or lease, other than in the ordinary course of business,

property of the estate.” 11 U.S.C. § 363(b)(1). “In determining whether to authorize the use, sale

or lease of property of the estate under this section, courts require the debtor to show that a sound

business purpose justifies such actions.” Dai-Ichi Kangyo Bank, Ltd. v. Montgomery Ward

Holding Corp. (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (D. Del. 1999)

(collecting cases); see also Armstrong World, 29 B.R. at 397 (relying on section 363 to allow a

debtor to pay prepetition claims of suppliers who were potential lien claimants because the

payments were necessary for general contractors to release funds owed to debtors); In re

Ionosphere Clubs, 98 B.R. at 175 (finding that a sound business justification existed to justify

payment of certain prepetition wages); In re Phx. Steel Corp., 82 B.R. 334, 335-36 (Bankr. D. Del.

1987) (requiring the debtor to show a “good business reason” for a proposed transaction under

section 363(b)).

        34.     Courts also authorize payment of prepetition claims in appropriate circumstances

based on section 105(a) of the Bankruptcy Code. Section 105(a) of the Bankruptcy Code codifies

a bankruptcy court’s inherent equitable powers to “issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a). Under

section 105(a), courts may authorize pre-plan payments of prepetition obligations when essential

to the continued operation of a debtor’s business. See In re Just for Feet, 242 B.R. at 825-26.

Specifically, a court may use its power under section 105(a) of the Bankruptcy Code to authorize

payment of prepetition obligations pursuant to the “necessity of payment” rule (also referred to as

the “doctrine of necessity”). See, e.g., In re Ionosphere Clubs, 98 B.R. at 176; In re Lehigh & New

England Ry Co., 657 F.2d 570, 581 (3d Cir. 1981) (stating that courts may authorize payment of



                                                  -15-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 16 of 50




prepetition claims when there “is the possibility that the creditor will employ an immediate

economic sanction, failing such payment”); see also In re Columbia Gas Sys., Inc., 171 B.R. 189,

191-92 (Bankr. D. Del. 1994) (noting that, in the Third Circuit, debtors may pay prepetition claims

that are essential to the continued operation of the business). A bankruptcy court’s use of its

equitable powers to “authorize the payment of prepetition debt when such payment is needed to

facilitate the rehabilitation of the debtor is not a novel concept.” In re Ionosphere Clubs, 98 B.R.

at 175-76 (citing Miltenberger v. Logansport, C. & S.W. Ry. Co., 106 U.S. 286 (1882)). Indeed,

at least one court has recognized that there are instances when a debtor’s fiduciary duty can “only

be fulfilled by the preplan satisfaction of a prepetition claim.” In re CoServ, 273 B.R. at 497.

       35.     These standards are satisfied here because the payment of fees, including Bank

Fees, and related prepetition obligations are necessary to maintain the Cash Management System

and avoid any disruption in the administration of the Bank Accounts. The Debtors request

authority to continue to pay the Bank Fees, including any prepetition Bank Fees, in the ordinary

course of business, in light of the material benefit of maintaining the Cash Management System.

The relief requested represents a sound exercise of the Debtors’ business judgment, is necessary

to avoid immediate and irreparable harm to the Debtors’ estates, and is therefore justified under

sections 105(a) and 363(b) of the Bankruptcy Code and Bankruptcy Rule 6003.

E.     Authorizing the Debtors to Continue Performing Under and Honoring Intercompany
       Transactions and Claims is Necessary and Appropriate

       36.     Because the Debtors engage in Intercompany Transactions on a regular basis and

such transaction are common among enterprises similar to the Debtors, the Debtors believe the

Intercompany Transactions are ordinary course transactions within the meaning of section

363(c)(1) of the Bankruptcy Code and, thus, do not require the Court’s approval. Nonetheless, out

of an abundance of caution, the Debtors are seeking express authority to engage in such


                                                 -16-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24      Page 17 of 50




transactions on a postpetition basis.      The continued performance of the ordinary course

Intercompany Transactions are integral to ensuring the Debtors’ ability to operate their business

as debtors in possession.

F.     Granting Administrative Expense Priority to Postpetition Intercompany Claims is
       Necessary and Appropriate

       37.     The Debtors’ funds are aggregated in the Cash Management System. The Debtors

track all fund transfers in their accounting system and have the ability to account for all

Intercompany Transactions.       Continuation of the Intercompany Transactions in the Cash

Management System is in the best interests of the Debtors, their estates, and all parties in interest.

To ensure each individual Debtor will not fund, at the expense of its creditors, the operations of

another Debtor, the Debtors request that all Intercompany Claims arising after the Petition Date be

accorded administrative expense priority pursuant to sections 503(b)(1) and 364(b) of the

Bankruptcy Code.

       38.     Indeed, courts in this, and other, districts specifically have granted administrative

expense priority to such postpetition intercompany claims. See, e.g., In re Casa Systems, Inc., No.

24-10695 (KBO) (Bankr. D. Del. Apr. 5, 2024) (authorizing postpetition intercompany

transactions and granting administrative expense priority to postpetition intercompany claims);

JoAnn Inc., No. 24-10418 (CTG) (Bankr. D. Del. Mar 19, 2024) (same); In re PGX Holdings, Case

No. 23-10718 (CTG) (Bankr. D. Del. Jun. 4, 2023) (same); In re Lannett Co., Inc., Case No. 23-

10559 (JKS) (Bankr. D. Del. May 2, 2023) (same); In re SiO2 Medical Prods. Inc., Case No. 23-

10366 (JTD) (Bankr. D. Del. Mar. 29, 2023).

G.     Modifying Certain Requirements of Section 345(b) Is Warranted

       39.     To the extent that the Cash Management System does not strictly comply with

section 345 of the Bankruptcy Code, the Debtors seek a waiver of the deposit and investment


                                                 -17-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24    Page 18 of 50




requirements set forth therein for a forty-five day period commencing upon entry of the Interim

Order, without prejudice to the Debtors’ right to seek further modifications or extensions of time.

       40.     Section 345(a) of the Bankruptcy Code authorizes a debtor in possession to make

deposits or investments of estate money in a manner “as will yield the maximum reasonable net

return on such money, taking into account the safety of such deposit or investment.” 11 U.S.C. §

345(a). For deposits or investments that are not “insured or guaranteed by the United States or by

a department, agency, or instrumentality of the United States or backed by the full faith and credit

of the United States,” section 345(b) of the Bankruptcy Code provides that the estate must require

from the entity with which the money is deposited or invested a bond in favor of the United States

secured by the undertaking of an adequate corporate surety, “unless the court for cause orders

otherwise.” Id. § 345(b). Additionally, under the U.S. Trustee Guidelines, debtors in possession

must, among other things, close prepetition bank accounts and open new “debtor in possession”

operating, payroll, and tax accounts at one or more authorized depositories.

       41.     A court may, however, relieve a debtor in possession of the restrictions imposed by

section 345(b) of the Bankruptcy Code for “cause.” 11 U.S.C. § 345(b). In evaluating whether

“cause” exists, courts have considered a number of factors, including:

       •       the sophistication of the debtor’s business;

       •       the size of the debtor’s business operations;

       •       the amount of the investments involved;

       •       the bank ratings (Moody’s and Standard & Poor) of the financial institutions
               where the debtor in possession funds are held;

       •       the complexity of the case;

       •       the safeguards in place within the debtor’s own business for ensuring the safety of
               the funds;




                                                 -18-
              Case 24-11106-CTG             Doc 8     Filed 05/30/24   Page 19 of 50




       •       the debtor’s ability to reorganize in the face of a failure of one or more of the
               financial institutions;

       •       the benefit to the debtor;

       •       the harm, if any, to the debtor;

       •       the harm, if any, to the estate; and

       •       the reasonableness of the debtor’s request for relief from section 345(b) of the
               Bankruptcy Code requirements in light of the overall circumstances of the case.

In re Serv. Mech. Co., Inc., 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999).

       42.     Additionally, Local Rule 2015-2(b) provides that if a motion for a suspension of

the restrictions imposed by section 345(b) “is filed on the first day of a chapter 11 case in which

there are more than 200 creditors, the Court may grant an interim suspension until a hearing on the

debtor’s motion can be held.” Del. Bankr. L.R. 2015-2(b). As this Motion is being filed on the

Petition Date and the Debtors have in excess of 200 creditors, the Debtors request that the Court

enter the Interim Order suspending, on an interim basis, for a period of forty-five (45) days from

the date of entry of the Interim Order, the requirements of section 345(b) of the Bankruptcy Code.

       43.     As set forth above, the Debtors believe that they are in substantial compliance with

the requirements of section 345(b) of the Bankruptcy Code and the U.S. Trustee Guidelines with

respect to each of the Bank Accounts, or, that cause exists to grant a waiver of such requirements.

The majority of Bank Accounts through which financial transactions are processed, are maintained

with a bank on the U.S. Trustee’s list of authorized depositories for the District of Delaware.

Moreover, even though the Debtors’ Foreign Subsidiary Operating Accounts are not designated as

authorized depositories by the U.S. Trustee, these Bank Accounts are insured by the governments

of the countries in which such banks originate, and maintain investment grade ratings from

Moody’s, S&P and Fitch. As such, the Debtors believe that they can maintain their Foreign

Subsidiary Operating Accounts at these institutions without jeopardizing any parties in interest.

                                                    -19-
                 Case 24-11106-CTG             Doc 8      Filed 05/30/24        Page 20 of 50




The principal basis for exclusion of certain of these financial institutions from the U.S.

Trustee Guidelines is location, not financial soundness or stability.                  Indeed, many of these

institutions are simply based outside of the United States and, thus, are less likely to be identified

by the U.S. Trustee as Authorized Depositories.               Such financial institutions are well-positioned

to perform the depository and cash management functions during these Chapter 11 Cases.

Therefore, the Debtors believe that any funds deposited in the Bank Accounts are secure and well-

positioned to continue to perform depository and cash management functions during these chapter

11 cases.10

         44.      Accordingly, the Debtors request an interim suspension of the requirements of

section 345(b) of the Bankruptcy Code to the extent such requirements are inconsistent with the

Debtor’s current practices. Given the complexity and security of the Debtors’ Cash Management

System, the Debtors submit that cause exists to grant an interim suspension of the requirements of

section 345(b) in the manner requested herein.

         45.      Indeed, courts in this, and other, districts specifically have granted waivers or

suspensions of the requirements of section 345 of the Bankruptcy Code under similar

circumstances. See, e.g., In re BHCosmetics Holdings, LLC, No. 22-10050 (CSS) (Bankr. D. Del.

Jan. 18, 2022); In re BL Santa Fe, LLC, No. 21-11190 (MFW) (Bankr. D. Del. Aug. 31, 2021); In

re Permian Holdco 1, Inc., No. 20-11822 (MFW) (Bankr. D. Del. July 21, 2020); ;




10
     Additionally, the Debtors maintain four dormant Bank Accounts with de minimis account balances at two banks
     that are not Authorized Depositories—SVB and US Century Bank—however, the Debtors’ submit that these
     Bank Accounts are in substantial compliance with the requirements of section 345(b) of the Bankruptcy Code.
     Indeed, since March 27, 2023, First Citizens Bank & Trust Company assumed all customer deposits of SVB from
     the FDIC and began operating all SVB branches. First Citizens is an authorized U.S. Trustee depository.
     Additionally, the Bank Account at US Century Bank is insured by the United States, through the Federal Deposit
     Insurance Corporation. Accordingly, the Debtors submit that “cause” similarly exists to suspend the Debtor’s
     compliance with restrictions imposed by section 345(b) of the Bankruptcy Code as to these Bank Accounts.


                                                       -20-
               Case 24-11106-CTG           Doc 8     Filed 05/30/24      Page 21 of 50




H.      The Court Should Authorize the Debtors to Continue Using Their Existing Business
        Forms

        46.     To avoid disruption of the Cash Management System and unnecessary expenses,

pursuant to Local Rule 2015-2(a), the Debtors request authorization to continue to use their

business forms substantially in the form existing immediately before the Petition Date, without

reference to the Debtors’ status as debtors-in-possession. The Debtors submit that parties in

interest will not be prejudiced if such relief is granted because parties doing business with the

Debtors will likely be aware of their status as debtors-in-possession and, thus, changing business

forms is unnecessary and would be unduly burdensome. In accordance with Local Rule 2015-2(a),

to the extent the Debtors exhaust their existing supply of checks, the Debtors will reissue checks

with the designation “Debtor-in-Possession” and the case number.

        47.     In other chapter 11 cases, courts in this district have allowed debtors to use their

prepetition business forms without the “debtor in possession” label. See, e.g., In re SiO2 Medical

Prods, Inc., 23-10366 (JTD) (Bankr. D. Del. Mar. 30, 2023); (authorizing the debtors’ continued

use of preprinted check stock without a “Debtor in Possession” marking); In re Carestream Health,

Inc., No. 22-10778 (JKS) (Bankr. D. Del. Sept. 22, 2022); In re Riverbed Tech., Inc., No. 21-11503

(CTG) (Bankr. D. Del. Nov. 18, 2021) (same); In re Alex and Ani, LLC, No. 21-10918 (CTG)

(Bankr. D. Del. July 14, 2021) (same); In re HighPoint Res. Corp., No. 21-10565 (CSS) (Bankr.

D. Del. Mar. 26, 2021) (same).

                 The Requirements of Bankruptcy Rule 6003(b) Are Satisfied

        48.     The Debtors submit that any disruption to the Cash Management System would

cause immediate and irreparable harm. Pursuant to Bankruptcy Rule 6003, “[e]xcept to the extent

that relief is necessary to avoid immediate and irreparable harm, the court shall not, within 21 days

after the filing of the petition, issue an order granting the following: . . . (b) a motion to use, sell,


                                                   -21-
              Case 24-11106-CTG           Doc 8     Filed 05/30/24     Page 22 of 50




lease, or otherwise incur an obligation regarding property of the estate, including a motion to pay

all or part of a claim that arose before the filing of the petition, but not a motion under Rule 4001.”

The Debtors submit that for the reasons already set forth herein, the relief requested in this Motion

is necessary to avoid immediate and irreparable harm. For reasons discussed above, the relief

requested herein is integral to the Debtors’ administrative activities in these chapter 11 cases and

necessary to preserve the value of their business and maximize the value of their estates for the

benefit of all stakeholders. Failure to receive such authorization and other relief during the first

twenty-one (21) days of these chapter 11 cases would severely disrupt the administration of the

Debtors’ estates at this critical juncture. Accordingly, the Debtors submit that they have satisfied

the “immediate and irreparable harm” standard of Bankruptcy Rule 6003 to support granting the

relief requested herein.

                                       Reservation of Rights

       49.     Nothing contained in this Motion or any order granting the relief requested in this

Motion, and no action taken by the Debtors pursuant to the relief requested or granted (including

any payment made in accordance with any such order), is intended as or shall be construed or

deemed to be: (a) an admission as to the amount of, basis for, priority, or validity of any claim

against the Debtors under the Bankruptcy Code or other applicable nonbankruptcy law; (b) a

waiver of the Debtors’ or any other party in interest’s rights to dispute any claim on any grounds;

(c) a promise or requirement to pay any particular claim; (d) an implication, admission or finding

that any particular claim is an administrative expense claim, other priority claim or otherwise of a

type specified or defined in this motion or any order granting the relief requested by this motion;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability

or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

                                                  -22-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 23 of 50




estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law. If the Court grants the relief sought herein, any payment made pursuant to the

Court’s order is not intended and should not be construed as an admission as to the validity,

priority, or amount of any particular claim or a waiver of the Debtors’ rights to subsequently

dispute such claim.

                                Waiver of Bankruptcy Rule 6004

       50.     The Debtors seek a waiver of any stay of the effectiveness of any order approving

this Motion. Pursuant to Bankruptcy Rule 6004(h), “[a]n order authorizing the use, sale or lease

of property other than cash collateral is stayed until the expiration of 14 days after entry of the

order, unless the court orders otherwise.” As set forth in the Motion, the relief requested herein is

essential to prevent immediate and irreparable harm to the Debtors’ business operations.

Accordingly, the Debtors submit that ample cause exists to justify a waiver of the fourteen (14)

day stay imposed by Bankruptcy Rule 6004(h), to the extent that it applies.

                                               Notice

       51.     The Debtors will provide notice of this Motion to: (a) the United States Trustee;

(b) the holders of the 30 largest unsecured claims against the Debtors (on a consolidated basis);

(c) the office of the attorney general for each of the states in which the Debtors operate; (d) the

United States Attorney’s Office for the District of Delaware; (e) the Internal Revenue Service;

(f) the United States Department of Justice; (g) the Banks; (h) counsel to the DIP Lenders; and

(i) any party that has requested notice pursuant to Bankruptcy Rule 2002. As this Motion is

seeking “first day” relief, within 2 business days of the hearing on this Motion, the Debtors will

serve copies of this Motion and any order entered with respect to this Motion as required by Local



                                                 -23-
             Case 24-11106-CTG         Doc 8     Filed 05/30/24    Page 24 of 50




Rule 9013-1(m). In light of the nature of the relief requests, no other or further notice need be

given.




                         [Remainder of Page Intentionally Left Blank]




                                               -24-
              Case 24-11106-CTG            Doc 8     Filed 05/30/24     Page 25 of 50




       WHEREFORE, the Debtors respectfully request entry of the Interim Order and Final

Order, substantially in the forms attached hereto as Exhibit A and Exhibit B, (a) granting the

relief requested herein, and (b) granting such other relief as the Court deems appropriate under the

circumstances.

 Dated: May 30, 2024
 Wilmington, Delaware

 /s/ Joseph M. Mulvihill
 YOUNG, CONAWAY, STARGATT &                           SHEPPARD, MULLIN, RICHTER &
 TAYLOR LLP                                           HAMPTON LLP
 Joseph M. Mulvihill (Del. Bar No. 6061)              Justin Bernbrock (pro hac vice pending)
 Shella Borovinskaya (Del. Bar No. 6758)              Robert B. McLellarn (pro hac vice pending)
 Kristin L. McElroy (Del. Bar No. 6871)               321 North Clark Street, 32nd Floor
 Rodney Square                                        Chicago, Illinois 60654
 1000 North King Street                               Telephone:       (312) 499-6300
 Wilmington, DE 19801                                 Facsimile:       (312) 499-6301
 Telephone:      (302) 571-6600                       Email:           jbernbrock@sheppardmullin.com
 Facsimile:      (302) 571-1253                                        rmclellarn@sheppardmullin.com
 Email:          jmulvihill@ycst.com
                 sborovinskaya@ycst.com               -and-
                 kmcelroy@ycst.com
                                                      Alexandria G. Lattner (pro hac vice pending)
 Proposed Co-Counsel for the Debtors and              650 Town Center Drive, 10th Floor
 Debtors in Possession                                Costa Mesa, California 92626
                                                      Telephone:     (714) 513-5100
                                                      Facsimile:     (714) 513-5130
                                                      Email:         alattner@sheppardmullin.com

                                                      Proposed Co-Counsel for the Debtors and
                                                      Debtors in Possession




                                                   -25-
Case 24-11106-CTG   Doc 8   Filed 05/30/24   Page 26 of 50




                      Exhibit A

               Proposed Interim Order
                   Case 24-11106-CTG             Doc 8      Filed 05/30/24        Page 27 of 50




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )       Chapter 11
                                                                    )
    TAKEOFF TECHNOLOGIES, INC., et al.,1                            )       Case No. 24-11106 (___)
                                                                    )
                             Debtors.                               )       (Joint Administration Requested)
                                                                    )
                                                                    )       Ref. Docket No.

                   INTERIM ORDER (I) AUTHORIZING THE DEBTORS
             TO (A) CONTINUE OPERATING CASH MANAGEMENT SYSTEM,
        (B) HONOR CERTAIN PREPETITION OBLIGATIONS RELATED THERETO,
      (C) MAINTAIN EXISTING BUSINESS FORMS; (D); CONTINUE INTERCOMPANY
     TRANSACTIONS; (II) CONFIRMING ADMINISTRATIVE EXPENSE PRIORITY FOR
    POSTPETITION INTERCOMPANY CLAIMS; AND (III) GRANTING RELATED RELIEF


             Upon the Motion2 of the above-captioned debtors and debtors in possession (collectively,

the “Debtors”) for the entry of an interim order (this “Interim Order”): (a) authorizing the Debtors

to (i) continue operating the Cash Management System (as defined herein), (ii) honor and pay the

Bank Fees (as defined herein) in the normal course, (iii) maintain existing business forms, (iv)

continue to perform under and honor Intercompany Transactions (as defined herein) in the ordinary

course of business, in their business judgment and at their sole discretion; and (b) confirming

administrative expense priority for post-petition intercompany claims; and (c) granting related



1
      The Debtors in these chapter 11 cases, along with the last four digits of the Debtors federal tax identification
      numbers, as applicable, are: Takeoff Technologies, Inc. (0552); Takeoff Technologies Canada, Inc.; Takeoff
      Technologies Australia Pty Ltd. (ACN 639 288 958); Takeoff Technologies FZE; Takeoff International Subco
      India Private Limited; and Takeoff International Subco, LLC. The location of the Debtors’ principal place of
      business and the Debtors’ service address in these chapter 11 cases is 203 Crescent Street, Suite 203, Waltham,
      Massachusetts 02453.

2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Debtors’
      Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors’ to (A) Continue to Operate Their Cash
      Management System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business
      Forms, (D) Continue Intercompany Transactions; (II) Confirming Administrative Expense Priority for
      Postpetition Intercompany Claims; and (III) Granting Related Relief (the “Motion”).

                                                          -1-
              Case 24-11106-CTG           Doc 8     Filed 05/30/24     Page 28 of 50




relief, all as more fully set forth in the Motion; and upon consideration of the First Day Declaration;

and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest; and this Court having found

that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before this Court (the “Hearing”); and this Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before this Court; and after due deliberation and

sufficient cause appearing therefor;

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is granted on an interim basis as set forth herein.

       2.      The final hearing (the “Final Hearing”) on the Motion shall be held on _________,

2024, at__:__ _.m., prevailing Eastern Time. Any objections or responses to entry of a final order

on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on _________, 2024

and shall be served on: (a) proposed counsel to the Debtors (i) Sheppard, Mullin, Richter &

Hampton LLP, 321 North Clark Street, 32nd Floor, Chicago, Illinois 60654, Attn.: Justin


                                                  -2-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 29 of 50




Bernbrock and Robert B. McLellarn, and (ii) Young, Conaway, Stargatt & Taylor LLP, Rodney

Square, 1000 North King Street, Wilmington, Delaware 19801, Attn.: Joseph M. Mulvihill, Shella

Borovinskaya, Kristin L. McElroy; and (b) the United States Trustee for the District of Delaware,

844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Jon Lipshie

(Jon.Lipshie@usdoj.gov).

       3.      In the event no objections to entry of the Final Order on the Motion are timely

received, this Court may enter such Final Order without need for the Final Hearing.

       4.      Subject to the provisions of this Order, the Debtors are authorized, but not directed,

to: (a) continue operating the Cash Management System, substantially as identified on Exhibit D

to the Motion and as described in the Motion, including intercompany funding among the Debtor

affiliates; (b) subject to the Approved Budget (as defined in the order approving post-petition

financing), honor their prepetition obligations related thereto; (c) use, in their present form, all

preprinted correspondence and Business Forms (including letterhead) without reference to the

Debtors’ status as debtors in possession; (d) continue to use, with the same account numbers, the

Bank Accounts in existence as of the Petition Date, including those accounts identified on Exhibit

C to the Motion, and need not comply with certain guidelines relating to bank accounts set forth

in the U.S. Trustee Guidelines (to the extent applicable); (e) treat the Debtor Bank Accounts for

all purposes as accounts of the Debtors as debtors in possession; (f) deposit funds in and withdraw

funds from the Bank Accounts by all usual means, including checks, wire transfers, and other

debits; and (g) subject to compliance with the Approved Budget, pay the Bank Fees, including any

prepetition amounts and any ordinary course Bank Fees incurred in connection with the Bank

Accounts and to otherwise perform their obligations under the documents governing the Bank




                                                 -3-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 30 of 50




Accounts; provided that in the case of each of (a) through (g), such action is taken in the ordinary

course of business and consistent with historical practices.

         5.    The Banks are authorized to continue to maintain, service, and administer the Bank

Accounts as accounts of the Debtors as debtors in possession, without interruption and in the

ordinary course of business consistent with historical practices, and to receive, process, honor, and

pay, to the extent of available funds, any and all checks, drafts, wires, credit card payments, and

ACH transfers issued and drawn on the Bank Accounts after the Petition Date by the holders or

makers thereof, as the case may be, and all such banks and financial institutions are authorized to

rely on the Debtors’ designation of any particular check or electronic payment request as approved

by this Interim Order; provided that the Debtors shall only instruct or request any Banks to pay or

honor any check, draft, or other payment item issued on a Bank Account prior to the Petition Date

but presented to such Bank for payment after the Petition Date as authorized by an order of the

Court.

         6.    The Banks are authorized to debit the Debtors’ accounts in the ordinary course of

business, consistent with historical practices, without the need for further order of this Court for:

(a) all checks drawn on the Debtors’ accounts which are cashed at such Bank’s counters or

exchanged for cashier’s checks by the payees thereof prior to the Petition Date; (b) all checks or

other items deposited in one of Debtors’ accounts with such Bank prior to the Petition Date which

have been dishonored or returned unpaid for any reason, together with any fees and costs in

connection therewith, to the same extent the Debtor was responsible for such items prior to the

Petition Date; and (c) all undisputed prepetition amounts outstanding as of the date hereof, if any,

owed to any Bank as service charges for the maintenance of the Cash Management System.




                                                 -4-
                Case 24-11106-CTG        Doc 8     Filed 05/30/24    Page 31 of 50




          7.    The Debtors are authorized and empowered to continue performing under and

honoring Intercompany Transactions subject to the terms of the Debtors’ debtor-in-possession

financing facility in accordance with the DIP Orders, including, without limitation, the Approved

Budget under, and as defined in, the DIP Orders; provided that the Debtors shall not be authorized

to undertake any Intercompany Transactions that are not on the same terms as, or materially

consistent with, the Debtors’ operation of their business in the ordinary course during the

prepetition period; provided, further, that the Debtors shall (a) keep records of any postpetition

Intercompany Transactions that occur during these chapter 11 cases and (b) implement accounting

procedures to identify and distinguish between prepetition and postpetition Intercompany

Transactions.

          8.    In accordance with sections 503(b)(1), 507(a)(2), and 364(b) of the Bankruptcy

Code, all Intercompany Claims arising after the Petition Date shall be accorded administrative

expense priority, subject and junior to the claims, including adequate protection claims, granted in

connection with the Debtors’ debtor-in-possession financing facility in accordance with the DIP

Orders.

          9.    Any existing agreements between or among the Debtors, the Banks, and other

parties shall continue to govern the postpetition cash management relationship between the

Debtors and the Banks, and all of the provisions of such agreements, including, without limitation,

the termination, fee provisions, rights, benefits, offset rights, and remedies afforded under such

agreements shall remain in full force and effect unless otherwise ordered by the Court, and the

Debtors and the Banks may, subject to the provisions of this Order and without further order of

this Court, agree to and implement changes to the Cash Management System and cash management




                                                 -5-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 32 of 50




procedures in the ordinary course of business, consistent with historical practices, including,

without limitation, the opening and closing of bank accounts.

       10.     The Debtors’ time to comply with section 345(b) of the Bankruptcy Code is hereby

extended for a period of thirty (30) days from the date of this Interim Order (the “Extension

Period”), provided, however, that such extension is without prejudice to the Debtors’ right to

request a further extension of the Extension Period or a final waiver of the requirements of section

345(b) in these chapter 11 cases.

       11.     For the Banks at which the Debtors hold Bank Accounts that are party to a Uniform

Depository Agreement with the U.S. Trustee, immediately after entry of this Interim Order, the

Debtors shall (a) contact such bank, (b) provide such bank with each of the Debtors’ employer

identification numbers, (c) identify each of their Bank Accounts held at such bank as being held

by a debtor in possession in the Debtors’ bankruptcy cases; and (d) serve a copy this Interim Order

on each Bank. For any Bank at which the Debtors hold Bank Accounts that are not party to a

Uniform Depository Agreement with the U.S. Trustee, the Debtors shall use their good-faith

efforts to cause the Bank to execute a Uniform Depository Agreement in a form prescribed by the

U.S. Trustee within thirty (30) days of the date of this Interim Order.

       12.     Subject to the terms hereof the Debtors are authorized, but not directed, in the

ordinary course of business consistent with historical practices, to open any new bank accounts or

close any existing Bank Accounts and enter into any ancillary agreements, including deposit

account control agreements, related to the foregoing, as they may deem necessary and appropriate,

provided that the Debtors give notice to the U.S. Trustee and any official committees appointed in

these chapter 11 cases within 15 days of opening or closing a bank account. The relief granted in

this Interim Order is extended to any new bank account opened by the Debtors in the ordinary


                                                 -6-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24    Page 33 of 50




course of business after the date hereof, which account shall be deemed a “Bank Account,” and to

the bank at which such account is opened, which bank shall be deemed a “Bank,” provided that

any new domestic bank account opened by the Debtors shall be established at an institution that is

a party to a Uniform Depository Agreement with the U.S. Trustee or is willing to immediately

execute such a Uniform Depository Agreement.

       13.     All banks maintaining any of the Bank Accounts that are provided with notice of

this Interim Order shall not honor or pay any bank payments drawn on the listed Bank Accounts

or otherwise issued before the Petition Date; provided, however, that any such bank shall not be

found to be in violation of this Interim Order nor liable to the Debtors or their estates should any

such bank honor or pay any bank payment (a) in a good faith belief that the Court has authorized

such payment to be honored, or (b) as the result of a mistake made despite implementation of

customary item handling procedures.

       14.     The Banks are authorized, without further order of this Court, to deduct any

applicable fees from the applicable Bank Accounts in the ordinary course of business consistent

with historical practices and pursuant to the applicable agreements governing each Bank Account.

       15.     The Banks are authorized, without further order of this Court, to charge back to the

appropriate accounts of the Debtors any amounts resulting from returned checks or other returned

items, including returned items that result from ACH transactions, wire transfers, or other

electronic transfers of any kind, regardless of whether such returned items were deposited or

transferred prepetition or postpetition and regardless of whether the returned items relate to

prepetition or postpetition items or transfers, including, without limitation, on account of checks

that have been dishonored or returned as a result of insufficient funds in the Bank Accounts, in

each case to the same extent the Debtors were responsible for such items prior to the Petition Date.


                                                 -7-
                 Case 24-11106-CTG         Doc 8     Filed 05/30/24      Page 34 of 50




        16.      Subject to the terms set forth herein, any bank, including the Banks, may rely upon

the representations of the Debtors with respect to whether any check, draft, wire, or other transfer

drawn or issued by the Debtors prior to the Petition Date should be honored pursuant to any order

of this Court, and no bank that honors a prepetition check or other item drawn on any account that

is the subject of this Interim Order (a) at the direction of the Debtors, (b) in a good-faith belief that

this Court has authorized such prepetition check or item to be honored, or (c) as a result of a

mistake made despite implementation of reasonable customary handling procedures, shall be

deemed to be nor shall be liable to the Debtors, their estates, or any other party on account of such

prepetition check or other item being honored postpetition, or otherwise deemed to be in violation

of this Interim Order.

        17.      Any banks, including the Banks, are further authorized to honor the Debtors’

directions with respect to the opening and closing of any Bank Account and accept and hold, or

invest, the Debtors’ funds in accordance with the Debtors’ instructions; provided that the Banks

shall not have any liability to any party for relying on such representations to the extent such

reliance otherwise complies with applicable law.

        18.      Notwithstanding anything contained herein, the Debtors shall calculate quarterly

fees under 28 U.S.C. section 1930(a)(6) based on the disbursements of each debtor, regardless of

who pays those disbursements.

        19.      Nothing contained in the Motion or this Interim Order shall be construed to (a)

create or perfect, in favor of any person or entity, any interest in cash of a Debtor that did not exist

as of the Petition Date or (b) alter or impair the validity, priority, enforceability, or perfection of

any security interest or lien or setoff right, in favor of any person or entity, that existed as of the

Petition Date.


                                                   -8-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 35 of 50




       20.     Nothing contained in the Motion or this Interim Order, and no action taken pursuant

to the relief requested or granted (including any payment made in accordance with this Interim

Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication, admission or finding that any particular claim is an administrative expense claim,

other priority claim or otherwise of a type specified or defined in the Motion or this Interim Order;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability

or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law.

       21.     The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

       22.     Nothing in this Interim Order authorizes the Debtors to accelerate any payments

not otherwise due.

       23.     The Debtors have demonstrated that the requested relief is “necessary to avoid

immediate and irreparable harm,” as contemplated by Bankruptcy Rule 6003.




                                                 -9-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24     Page 36 of 50




       24.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Interim

Order are immediately effective and enforceable upon its entry.

       25.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.

       26.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Interim Order.




                                                 -10-
Case 24-11106-CTG   Doc 8   Filed 05/30/24   Page 37 of 50




                      Exhibit B

                Proposed Final Order
                   Case 24-11106-CTG             Doc 8      Filed 05/30/24        Page 38 of 50




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )       Chapter 11
                                                                    )
    TAKEOFF TECHNOLOGIES, INC., et al.,1                            )       Case No. 24-11106 (___)
                                                                    )
                             Debtors.                               )       (Joint Administration Requested)
                                                                    )
                                                                    )       Ref. Docket Nos.

 FINAL ORDER (I) AUTHORIZING THE DEBTORS TO (A) CONTINUE OPERATING
CASH MANAGEMENT SYSTEM, (B) HONOR CERTAIN PREPETITION OBLIGATIONS
     RELATED THERETO, (C) MAINTAIN EXISTING BUSINESS FORMS; AND
                     (II) GRANTING RELATED RELIEF


             Upon the Motion2 of the above-captioned debtors and debtors in possession (collectively,

the “Debtors”) for the entry of a final order (this “Final Order”): (a) authorizing the Debtors to (i)

continue operating the Cash Management System (as defined herein), (ii) honor and pay the Bank

Fees (as defined herein) in the normal course, (iii) maintain existing business forms, (iv) continue

to perform under and honor Intercompany Transactions (as defined herein) in the ordinary course

of business, in their business judgment and at their sole discretion; and (b) confirming

administrative expense priority for post-petition intercompany claims; and (c) granting related

relief, all as more fully set forth in the Motion; and upon consideration of the First Day Declaration;



1
      The Debtors in these chapter 11 cases, along with the last four digits of the Debtors federal tax identification
      numbers, as applicable, are: Takeoff Technologies, Inc. (0552); Takeoff Technologies Canada, Inc.; Takeoff
      Technologies Australia Pty Ltd. (ACN 639 288 958); Takeoff Technologies FZE; Takeoff International Subco
      India Private Limited; and Takeoff International Subco, LLC. The location of the Debtors’ principal place of
      business and the Debtors’ service address in these chapter 11 cases is 203 Crescent Street, Suite 203, Waltham,
      Massachusetts 02453.

2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Debtors’
      Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors’ to (A) Continue to Operate Their Cash
      Management System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business
      Forms, (D) Continue Intercompany Transactions; (II) Confirming Administrative Expense Priority for
      Postpetition Intercompany Claims; and (III) Granting Related Relief (the “Motion”).

                                                          -1-
              Case 24-11106-CTG            Doc 8     Filed 05/30/24    Page 39 of 50




and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Motion is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest; and this Court having found

that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

an interim hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor;

       IT IS HEREBY ORDERED THAT:

       1.      The Motion is granted on a final basis as set forth herein.

       2.      The Debtors are authorized, but not directed, to: (a) continue operating the Cash

Management System, substantially as identified on Exhibit D to the Motion and as described in

the Motion, including intercompany funding among the Debtor affiliates]; (b) subject to the

Approved Budget (as defined in the order approving post-petition financing), honor their

prepetition obligations related thereto; (c) use, in their present form, all preprinted correspondence

and Business Forms (including letterhead) without reference to the Debtors’ status as debtors in


                                                   -2-
              Case 24-11106-CTG          Doc 8       Filed 05/30/24   Page 40 of 50




possession; (d) continue to use, with the same account numbers, the Bank Accounts in existence

as of the Petition Date, including those accounts identified on Exhibit C to the Motion, and need

not comply with certain guidelines relating to bank accounts set forth in the U.S. Trustee

Guidelines (to the extent applicable); (e) treat the Debtor Bank Accounts for all purposes as

accounts of the Debtors as debtors in possession; (f) deposit funds in and withdraw funds from the

Bank Accounts by all usual means, including checks, wire transfers, and other debits; and

(g) subject to compliance with the Approved Budget, pay the Bank Fees, including any prepetition

amounts and any ordinary course Bank Fees incurred in connection with the Bank Accounts and

to otherwise perform their obligations under the documents governing the Bank Accounts;

provided that in the case of each of (a) through (g), such action is taken in the ordinary course of

business and consistent with historical practices.

         3.    The Banks are authorized to continue to maintain, service, and administer the Bank

Accounts as accounts of the Debtors as debtors in possession, without interruption and in the

ordinary course of business consistent with historical practices, and to receive, process, honor, and

pay, to the extent of available funds, any and all checks, drafts, wires, credit card payments, and

ACH transfers issued and drawn on the Bank Accounts after the Petition Date by the holders or

makers thereof, as the case may be, and all such banks and financial institutions are authorized to

rely on the Debtors’ designation of any particular check or electronic payment request as approved

by this Final Order; provided that the Debtors shall only instruct or request any Bank to pay or

honor any check, draft, or other payment item issued on a Bank Account prior to the Petition Date

but presented to such Bank for payment after the Petition Date as authorized by an order of this

Court.




                                                 -3-
                Case 24-11106-CTG        Doc 8     Filed 05/30/24     Page 41 of 50




       4.       The Banks are authorized to debit the Debtors’ accounts in the ordinary course of

business, consistent with historical practices, without the need for further order of this Court for:

(a) all checks drawn on the Debtors’ accounts which are cashed at such Bank’s counters or

exchanged for cashier’s checks by the payees thereof prior to the Petition Date; (b) all checks or

other items deposited in one of Debtors’ accounts with such Bank prior to the Petition Date which

have been dishonored or returned unpaid for any reason, together with any fees and costs in

connection therewith, to the same extent the Debtor was responsible for such items prior to the

Petition Date; and (c) all undisputed prepetition amounts outstanding as of the date hereof, if any,

owed to any Bank as service charges for the maintenance of the Cash Management System.

       5.       The Debtors are authorized and empowered to continue performing under and

honoring Intercompany Transactions subject to the terms of the Debtors’ debtor-in-possession

financing facility in accordance with the DIP Orders, including, without limitation, the Approved

Budget under, and as defined in, the DIP Orders; provided that the Debtors shall not be authorized

to undertake any Intercompany Transactions that are not on the same terms as, or materially

consistent with, the Debtors’ operation of their business in the ordinary course during the

prepetition period; provided, further, that the Debtors shall (a) keep records of any postpetition

Intercompany Transactions that occur during these chapter 11 cases and (b) implement accounting

procedures to identify and distinguish between prepetition and postpetition Intercompany

Transactions.

       6.       In accordance with sections 503(b)(1), 507(a)(2), and 364(b) of the Bankruptcy

Code, all Intercompany Claims arising after the Petition Date shall be accorded administrative

expense priority, subject and junior to the claims, including adequate protection claims, granted in




                                                 -4-
               Case 24-11106-CTG        Doc 8     Filed 05/30/24    Page 42 of 50




connection with the Debtors’ debtor-in-possession financing facility in accordance with the DIP

Orders.

          7.   Any existing agreements between or among the Debtors, the Banks, and other

parties shall continue to govern the postpetition cash management relationship between the

Debtors and the Bank, and all of the provisions of such agreements, including, without limitation,

the termination, fee provisions, rights, benefits, offset rights, and remedies afforded under such

agreements shall remain in full force and effect unless otherwise ordered by the Court, and the

Debtors and the Bank may, without further order of this Court, agree to and implement changes to

the Cash Management System and cash management procedures in the ordinary course of

business, consistent with historical practices, including, without limitation, the opening and

closing of bank accounts.

          8.   To the extent any of the Debtor Bank Accounts are not in compliance with section

345(b) of the Bankruptcy Code or any of the U.S. Trustee’s requirements or guidelines, the Debtors

are hereby granted a period of forty-five days from the date of this Final Order, without prejudice

to seeking an additional extension, to come into compliance with section 345(b) of the Bankruptcy

Code and any of the U.S. Trustee’s requirements or guidelines; provided that nothing herein shall

prevent the Debtors or the U. S. Trustee from seeking further relief from the Court to the extent

that an agreement cannot be reached. The Debtors may obtain a further extension of the 45- day

period referenced above by written stipulation with the U.S. Trustee and filing such stipulation on

the Court’s docket without the need for further Court order.

          9.   For any Banks at which the Debtors hold Bank Accounts that are party to a Uniform

Depository Agreement with the U.S. Trustee, within fifteen (15) days of the date of entry of this

Final Order, the Debtors shall (a) contact such bank, (b) provide such bank with each of the


                                                -5-
              Case 24-11106-CTG          Doc 8     Filed 05/30/24      Page 43 of 50




Debtors’ employer identification numbers, (c) identify each of their Bank Accounts held at such

bank as being held by a debtor in possession in the Debtors’ bankruptcy cases, and (d) serve a copy

of this Final Order on each Bank. For any Banks at which the Debtors hold Bank Accounts that

are not party to a Uniform Depository Agreement with the U.S. Trustee, the Debtors shall use their

good-faith efforts to cause such Bank to execute a Uniform Depository agreement in a form

prescribed by the U.S. Trustee within thirty (30) days of the date of this Final Order.

       10.     Subject to the terms hereof, the Debtors are authorized, but not directed, in the

ordinary course of business consistent with historical practices, to open any new bank accounts or

close any existing Bank Accounts and enter into any ancillary agreements, including deposit

account control agreements, related to the foregoing, as they may deem necessary and appropriate,

provided that the Debtors give notice to the U.S. Trustee and any official committees appointed in

these chapter 11 cases within 15 days of opening or closing a bank account. The relief granted in

this Final Order is extended to any new bank account opened by the Debtors in the ordinary course

of business after the date hereof, which account shall be deemed a “Bank Account,” and to the

bank at which such account is opened, which bank shall be deemed a “Bank,” provided that any

new domestic bank account opened by the Debtors shall be established at an institution that is a

party to a Uniform Depository Agreement with the U.S. Trustee or is willing to immediately

execute such a Uniform Depository Agreement.

       11.     All banks maintaining any of the Bank Accounts that are provided with notice of

this Final Order shall not honor or pay any bank payments drawn on the listed Bank Accounts or

otherwise issued before the Petition Date; provided, however, that any such bank shall not be found

to be in violation of this Final Order nor liable to the Debtors or their estates should any such bank

honor or pay any bank payment (a) in a good faith belief that the Court has authorized such


                                                 -6-
              Case 24-11106-CTG           Doc 8     Filed 05/30/24     Page 44 of 50




payment to be honored, or (b) as the result of a mistake made despite implementation of customary

item handling procedures.

       12.     The Banks are authorized, without further order of this Court, to deduct any

applicable fees from the applicable Bank Accounts in the ordinary course of business consistent

with historical practices and pursuant to the applicable agreements governing each Bank Account.

       13.     The Banks are authorized, without further order of this Court, to charge back to the

appropriate accounts of the Debtors any amounts resulting from returned checks or other returned

items, including returned items that result from ACH transactions, wire transfers, or other

electronic transfers of any kind, regardless of whether such returned items were deposited or

transferred prepetition or postpetition and regardless of whether the returned items relate to

prepetition or postpetition items or transfers, including, without limitation, on account of checks

that have been dishonored or returned as a result of insufficient funds in the Bank Accounts, in

each case to the same extent the Debtors were responsible for such items prior to the Petition Date.

       14.     Subject to the terms set forth herein, any bank, including the Banks, may rely upon

the representations of the Debtors with respect to whether any check, draft, wire, or other transfer

drawn or issued by the Debtors prior to the Petition Date should be honored pursuant to any order

of this Court, and no bank that honors a prepetition check or other item drawn on any account that

is the subject of this Final Order (a) at the direction of the Debtors, (b) in a good-faith belief that

this Court has authorized such prepetition check or item to be honored, or (c) as a result of a

mistake made despite implementation of reasonable customary handling procedures, shall be

deemed to be nor shall be liable to the Debtors, their estates, or any other party on account of such

prepetition check or other item being honored postpetition, or otherwise deemed to be in violation

of this Final Order.


                                                  -7-
               Case 24-11106-CTG            Doc 8     Filed 05/30/24       Page 45 of 50




        15.     Any banks, including the Banks, are further authorized to honor the Debtors’

directions with respect to the opening and closing of any Bank Account and accept and hold, or

invest, the Debtors’ funds in accordance with the Debtors’ instructions; provided that the Banks

shall not have any liability to any party for relying on such representations to the extent such

reliance otherwise complies with applicable law.

        16.     Notwithstanding anything set forth in this Final Order, the Debtors shall calculate

quarterly fees under 28 U.S.C. section 1930(a)(6) based on the disbursements of each debtor,

regardless of who pays those disbursements.

        17.     Nothing contained in the Motion or this Final Order shall be construed to (a) create

or perfect, in favor of any person or entity, any interest in cash of a Debtor that did not exist as of

the Petition Date or (b) alter or impair the validity, priority, enforceability, or perfection of any

security interest or lien or setoff right, in favor of any person or entity, that existed as of the Petition

Date.

        18.     Nothing contained in the Motion or this Final Order, and no action taken pursuant

to the relief requested or granted (including any payment made in accordance with this Final

Order), is intended as or shall be construed or deemed to be: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication, admission or finding that any particular claim is an administrative expense claim,

other priority claim or otherwise of a type specified or defined in the Motion or this Final Order;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability


                                                    -8-
              Case 24-11106-CTG            Doc 8     Filed 05/30/24     Page 46 of 50




or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law.

       19.       The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

       20.       Nothing in this Final Order authorizes the Debtors to accelerate any payments not

otherwise due.

       21.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

       22.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       23.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Final Order.




                                                   -9-
Case 24-11106-CTG   Doc 8   Filed 05/30/24   Page 47 of 50




                      Exhibit C

                    Bank Accounts
                                     Case 24-11106-CTG        Doc 8        Filed 05/30/24     Page 48 of 50


                                                                  EXHIBIT C
In USDs


Entity Name                                         Bank Name                     Account #           Account Type      Balance as of 5/29/24
Takeoff Technologies, Inc                           Bank of America                X9770        Payables                $              30,742
Takeoff Technologies, Inc                           Bank of America                X1965        Customer Collection                       430
Takeoff Technologies, Inc                           Bank of America                X7631        Payroll                                 1,000
Takeoff Technologies, Inc                           Bank of America                X0010        Euro                                    7,734
Takeoff International Subco, LLC                    Bank of America                X3867        Checking                                  100
Takeoff Technologies, Inc                           Chase Bank                     X0972        Main Concentration                 1,454,860
Takeoff Technologies, Inc                           Chase Bank                     X2533        ZBA Payables                                 -
Takeoff Technologies, Inc                           Chase Bank                     X7606        ZBA Payroll                                  -
Takeoff Technologies, Inc                           Chase Bank                     X7697        ZBA Customer Collection                      -
Takeoff Technologies, Inc                           JP Morgan Chase Bank           X2979        Investment                             10,360
Takeoff Technologies, Inc                           Silicon Valley Bank            X3645        Checking                                1,885
Takeoff Technologies, Inc                           Silicon Valley Bank            X6644        Savings                                      -
Takeoff Technologies, Inc                           Silicon Valley Bank            X0340        Payroll                                      -
Takeoff Technologies, Inc                           US Century Bank                X7854        Checking                                4,106
Takeoff Technologies Australia Pty Ltd              Commonwealth Bank              X0855        Main Operating                         72,692
Takeoff Technologies Australia Pty Ltd              Commonwealth Bank              X0871        Savings                                 7,060
Takeoff Technologies Canada Inc.                    Royal Bank of Canada           X4246        Main Operating                         18,472
Takeoff International Subco India Private Limited   ICICI Bank                     X5319        Main Operating                       591,333
Case 24-11106-CTG   Doc 8   Filed 05/30/24   Page 49 of 50




                      Exhibit D

             Cash Management Schematic
                                                     Case 24-11106-CTG                                   Doc 8           Filed 05/30/24                  Page 50 of 50


                                                                                                                   EXHIBIT D


                              Debtor
                                                                                                          Transfers as needed


                                               TAKEOFF TECHNOLOGIES, INC                                                                                 TAKEOFF TECHNOLOGIES, INC
                                                 Main Concentration Account                                                                                   Payables Account

                                                         Chase Bank                                                                                            Bank of America
                                                         XXXXXX0972                                                                                             XXXXXX9770


                                                                                                          TAKEOFF TEHCNOLOGIES
                                                                                                            AUSTRALIA PTY LTD
                                                                                                            Main Operating Account

                               TAKEOFF TECHNOLOGIES, INC                                                     Commonwealth Bank
                                 Customer Collection Account                                                    XXXXXX0855                                             TAKEOFF TECHNOLOGIES, INC
                                     ZBA - Daily Sweeps                                                                                                                  Customer Collection Account

                                       Chase Bank                                                         TAKEOFF TEHCNOLOGIES                                                   Bank of America
                                       XXXXXX7697                                                           AUSTRALIA PTY LTD                                                     XXXXXX1965
                                                                                                              Savings Account

                              TAKEOFF TECHNOLOGIES, INC                                                      Commonwealth Bank
                                    Payables Account                                                            XXXXXX0871
                                                                                                                                                                       TAKEOFF TECHNOLOGIES, INC
                                   ZBA - Daily Sweeps                                                                                                                   International Wire and Foreign
                                                                                                                                                                              Excahnge Account
                                       Chaase Bank                                                        TAKEOFF TEHCNOLOGIES
                                       XXXXXX2533                                                               CANADA INC                                                       Bank of America
                                                                                                            Main Operating Account                                                XXXXXX0010
                               TAKEOFF TECHNOLOGIES, INC                                                     Royal Bank of Canada
                                      Payroll Account                                                            XXXXXX4246
                                    ZBA - Daily Sweeps

                                       Chase Bank                                                    TAKEOFF INTERNATIONAL SUBCO
                                       XXXXXX7606                                                        INDIA PRIVATE LIMITED
                                                                                                          Main Operating Account

                               TAKEOFF TECHNOLOGIES, INC                                                          ICICI Bank
                                    Investment Account                                                           XXXXXX5319

                                   JPMorgan Chase Bank
                                      XXXXXX2979




TAKEOFF TECHNOLOGIES, INC          TAKEOFF TECHNOLOGIES, INC                  TAKEOFF TECHNOLOGIES, INC                   TAKEOFF TECHNOLOGIES, INC         TAKEOFF TECHNOLOGIES SUBCO,                  TAKEOFF TECHNOLOGIES, INC
  Savings Account - Dormant          Checking Account - Dormant                  Payroll Account - Dormant                  Checking Account - Dormant                    INC                               Payroll Account - Dormant
                                                                                                                                                               Checking Account - Dormant
     Silicon Valley Bank                 Silicon Valley Bank                       Silicon Valley Bank                              US Century Bank                                                            Bank of America
         XXXXXX6644                          XXXXXX3645                                XXXXXX0340                                    XXXXXX7854                      Bank of America                            XXXXXX7631
                                                                                                                                                                      XXXXXX3867
